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———. Experts Conclude Pfizer Manipulated Studies - NYTimes.com

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Experts Conclude Pfizer Manipulated Studies

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: The drug maker Pfizer earlier this decade manipulated the wr

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_ publication of scientific studies to bolster the use of its epilepsy drug

: REPRINTS

. Neurontin for other disorders, while suppressing research that did
nat support those uses, according to experts who reviewed

' thousands of company documents for plaintiffs in a lawsuit against
the company.

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Pfizer's tactics included delaying the

publication of studies that had found no evidence the drug
worked for some other disorders, “spinning” negative data
to place it in a more positive light, and bundling negative
findings with positive studies to neutralize the results,
according to written reports by the experts, who analyzed
the documents at the request of the plaintiffs’ lawyers.

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_ One of the experts who reviewed the documents, Dr, Kay Dickersin of the Johns Hopkins
’ Bloomberg School of Public Health, concluded that the Pfizer documents spell out “a
publication strategy meant to convince physicians of Neurontin’s effectiveness and

: Inisrepresent or suppress negative findings.”

_ Pfizer issued a statement Tuesday denying that it had manipulated Neurontin data,
saying “study results are reported by Pfizer in an objective, accurate, balanced and
complete manner, with a discussion of the strengths and limitations of the study, and are
_ Teported regardless of the outcome of the study or the country in which the study was
} conducted.”

The expert reports, unsealed Monday in a federal court in Boston, add to accusations that
; the pharmaceutical industry has controlled the flow of clinical research data, blurring the
} . lines between science and marketing,

fn April, for example, a group of academic doctors questioned the validity of drug
industry research after finding that Merck had hired ghostwriters to produce scientific
articles about Vioxx, then recruited prestigious doctors to serve as their official authors.
Vioxx, a painkiller, was withdrawn from the market in 2004 after research indicated it
could cause strokes and heart attacks.

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Last winter, Merck and Schering-Plough were criticized for delaying the release of a study
on their best-selling cholesterol medication Vytorin that showed the drug did not slow

 

 

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